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                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI

IN RE:

       BRYAN S. KENNEDY                                                CASE NO. 17-02921-NPO

               DEBTOR                                                               CHAPTER 13


                     OBJECTION TO DEBTOR’S CHAPTER 13 PLAN

       COMES NOW, Peoples Bank, and files this its Objection to Confirmation of Debtor’s

Chapter 13 Plan [Docket No. 22] and in support thereof would show as follows, to wit:

       1.      The Debtor filed a Chapter 13 Petition on August 10, 2017 and a 341(a) Meeting of

Creditors was held on October 3, 2017.

       2.      The Debtor’s Petition and Plan are not filed in good faith.

       3.      The Debtor failed to disclose that he had taken $150,000.00 from Paul and Merika

Kalmun ("Kalmun’s") to purchase the property securing the Peoples Bank’s debt.

       4.      The Debtor mischaracterized his debt. He lists BankPlus, Stearns Bk Leasing , Twin

Cedars Development and Loanme Inc. as contingent debt when in fact he is currently obligated on

them. The Debtor exceeds the debt limitations for Chapter 13.

       5.      The Debtor testified that he has sold a Komatsu Dozer, a Hay mower and related Hay

baling equipment and a herd of cattle that was security for the Peoples Bank loan. The proceeds

were not paid to the bank and this collateral was sold out of trust.

       6.      The Debtor’s Plan is not feasible as he has taken $150,000.00 from the Kalmun’s

under the pretext of selling them the land that the Bank has a first lien Deed of Trust on and

liquidated all of the personal property securing this loan and was still unable to make payments for

over seven months pre petition.
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        7.      The Debtor knows he owes the Kalmun’s the $150,000.00 he took from them and

failed to list it in his schedules or provide for it in his Plan.

        8.      Confirmation should be denied and this case should be dismissed or converted to a

Chapter 7.

        9.      Other grounds to be shown at a hearing hereon.

        WHEREFORE, PREMISES CONSIDERED, Peoples Bank prays that this objection be

received at a hearing hereon and confirmation be denied and for other, further and general relief as

is proper.

        Respectfully submitted this the 19th day of October, 2017.

                                                 PEOPLES BANK

                                                 By: /s/J. Walter Newman IV
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                                 CERTIFICATE OF SERVICE

       I, J. Walter Newman IV, attorney for Peoples Bank, do hereby certify that I have this date

transmitted via Electronic Case Filing, as it appears on this date in the Court registered e-filers of

CM/ECF and/or via U. S. Mail, postage prepaid, a true and correct copy of the foregoing Pleading

to the following:

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       Dated this the 19th day of October, 2017.

                                                /s/J. Walter Newman IV
                                               J. WALTER NEWMAN IV
